Case 1:19-cv-00185   Document 213   Filed on 03/10/23 in TXSD   Page 1 of 8
                                                                 United States District Court
                                                                   Southern District of Texas

                                                                      ENTERED
                                                                     March 10, 2023
                                                                   Nathan Ochsner, Clerk
Case 1:19-cv-00185   Document 213   Filed on 03/10/23 in TXSD   Page 2 of 8
Case 1:19-cv-00185   Document 213   Filed on 03/10/23 in TXSD   Page 3 of 8
Case 1:19-cv-00185   Document 213   Filed on 03/10/23 in TXSD   Page 4 of 8
Case 1:19-cv-00185   Document 213   Filed on 03/10/23 in TXSD   Page 5 of 8
Case 1:19-cv-00185   Document 213   Filed on 03/10/23 in TXSD   Page 6 of 8
Case 1:19-cv-00185   Document 213   Filed on 03/10/23 in TXSD   Page 7 of 8
Case 1:19-cv-00185   Document 213   Filed on 03/10/23 in TXSD   Page 8 of 8
